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    1 NYE, PEABODY, STIRLING, HALE
        & MILLER, LLP
    2 Jonathan D. Miller (CA 220848)
        Alison M. Bernal (CA 264629)
    3 Jonathan@nps-law.com

    4 33 West Mission St., Suite 201
        Telephone: (805) 963-2345
    5
        Facsimile: (805) 563-5385
    6
        CARLSON LYNCH SWEET
    7   KILPELA & CARPENTER, LLP
        Todd D. Carpenter (CA 234464)
    8   tcarpenter@carlsonlynch.com
        1350 Columbia Street, Ste. 603
    9
        Telephone: (619) 762-1900
   10   Facsimile: (619) 756-6991
   11
      Attorneys for Plaintiffs and the Class
   12 [Additional Counsel Listed on Signature Page]

   13
                             UNITED STATES DISTRICT COURT
   14
                            CENTRAL DISTRICT OF CALIFORNIA
   15

   16   MEGAN SCHMITT, DEANA                     Case No. 8:17-cv-01397-JVS-JDE
        REILLY, CAROL ORLOWSKY, and
   17   STEPHANIE MILLER BRUN,                   DECLARATION OF ADAM
        individually and on behalf of            GONNELLI IN SUPPORT OF
   18   themselves and all others similarly      PLAINTIFFS’ MOTION FOR CLASS
        situated,                                CERTIFICATION
   19
                    Plaintiffs,                  Filed Concurrently with
   20                                            Plaintiffs’ Notice of Motion
              v.                                 and Motion for Class
   21                                            Certification, Declaration of
        YOUNIQUE, LLC,                           Donald M. May, Declaration
   22                                            of Bonner Walsh, and
                    Defendant.                   [Proposed] Order
   23

   24
                                                 Complaint Filed: 8/17/17
   25                                            Trial Date: 2/19/19
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                                  DECLARATION OF ADAM GONNELLI
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    1              I, Adam Gonnelli, hereby declare:
    2              1.    I am a partner of the Sultzer Law Group, P.C., counsel for Plaintiffs
    3       Megan Schmitt, Deana Reilly, Carol Orlowsky, and Stephanie Miller Brun in the
    4       above-captioned matter.
    5              2.    I have personal knowledge of the facts stated below. If called upon to
    6       do so, I could and would competently testify thereto.
    7              3.    I submit this declaration in support of Plaintiffs’ Motion for Class
    8       Certification.
    9              4.    The Sultzer Law Group focuses on complex civil litigation, including
   10       consumer class actions, many of which involve on-label misrepresentations about
   11       food and beverage ingredients. Since the firm’s founding in 2013, we have acted as
   12       lead counsel in numerous high-profile consumer fraud and false advertising class
   13       actions. For instance, we recently acted as lead counsel in the prosecution of the
   14       following representative consumer class actions:
   15          •   Vincent, Wesley, et al. v People Against Dirty, PBC. and Method Products,
   16              PBC., (S.D.N.Y. 7:16-cv-06936) (served as co-lead counsel and obtained a
   17              settlement fund of $2.8 million on behalf of a national class of consumers
   18              who purchased cleaning products deceptively marketed as “Natural”)
   19          •   Run Them Sweet, LLC v. CPA Global, Ltd., et al, (United States District
   20              Court Eastern District of Virginia 1:16-cv-1347) (obtained a settlement fund
   21              of $5.6 million on behalf of consumers who were overcharged with respect
   22              to foreign patent renewal services)
   23          •   Rapoport-Hecht, Tziva et al. v. Seventh Generation, Inc. (S.D.N.Y. 14-cv-
   24              9087) (served as co-lead counsel and obtained a settlement fund of $4.5
   25              million on behalf of a national class of consumers who purchased cleaning
   26              products deceptively marketed as “Natural”)
   27          •   Foster, Andrew Tyler et al. v. L-3 Communications EOTECH, Inc., et al.
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                                      DECLARATION OF ADAM GONNELLI
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    1           (United States District Court Western District of Missouri 15-cv-03519)
    2           (obtained millions of dollars in monetary relief for consumers who purchased
    3           falsely advertised holographic weapons sights)
    4       •   Davenport, Sumner, et al. v. Discover Financial Services, et al. (United
    5           States District Court for the Northern District of Illinois 15-cv-06052)
    6           (served as co-lead counsel and obtained a settlement fund of $5.6 million for
    7           victims of violations of the Telephone Consumer Protection Act)
    8       •   Baumgarten v. Cleanwell, LLC, (E.D.N.Y. 1:16-cv-01780) (obtained
    9           injunctive relief on behalf of a national class of consumers against company
   10           that deceptively marked cleaning products as “Natural”)
   11       •   Nicotra, Jennifer et al. v. Babo Botanicals, LLC (E.D.N.Y. 16-cv-
   12           00296) (obtained injunctive relief on behalf of a national class of
   13           consumers against company that deceptively marked skin and
   14           haircare products as “Natural”)
   15       •   Mayhew, Tanya, et al., v. KAS Direct, LLC and S.C. Johnson & Son, Inc.
   16           (S.D.N.Y. 16- cv-6981) (preliminary approval pending for a proposed
   17           $2.2 million settlement fund on behalf of a national class of consumers
   18           who purchased baby products deceptively marketed as “Natural”)
   19           5.   Sultzer Law is headquartered in New York, and maintains offices in
   20 New Jersey, and Pennsylvania. The firm is included in Martindale-Hubbell's Bar

   21 Register of Preeminent Lawyers for its class action practice. Jason Sultzer and

   22 Joseph Lipari are AV rated by Martindale-Hubbell and have been selected as Super

   23 Lawyers. The firm’s class action practice has been featured in numerous

   24 publications, including Law360, Inside Counsel Magazine, Risk Management

   25 Magazine, and CNBC News. In addition, the attorneys within the firm have written

   26 and lectured extensively on class action practice.
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                                  DECLARATION OF ADAM GONNELLI
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    1        6.     Attached hereto as Exhibit 1 is a true and accurate copy of the Rough
    2 Transcript of the July 27, 2018 Deposition of Vrena Ranallo.

    3        7.     Attached hereto as Exhibit 2 is a true and accurate copy of a website
    4 capture of Younique.com from August 2013.

    5        8.     Attached hereto as Exhibit 3 is a true and accurate copy of a website
    6 capture of Younique.com from August 2014.

    7        9.     Attached hereto as Exhibit 4 is a true and accurate copy of a document
    8 Plaintiffs believe Younique sent to its sales force prior to October 2014.

    9        10.    Attached hereto as Exhibit 5 is a true and accurate copy of Bates
   10 YNQE0000345 produced by Defendant in discovery.

   11        11.    Attached hereto as Exhibit 6 is a true and accurate copy of Bates
   12 YNQE0000994 produced by Defendant in discovery.

   13        12.    Attached hereto as Exhibit 7 is a true and accurate copy of Bates
   14 YNQE0000731produced by Defendant in discovery.

   15        13.    Attached hereto as Exhibit 8 is a true and accurate copy of Bates
   16 YNQE0001240 produced by Defendant in discovery.

   17        14.    Attached hereto as Exhibit 9 is a true and accurate copy of Bates
   18 YNQE0001014 – YNQE0001019 produced by Defendant in discovery.
   19        15.    Attached hereto as Exhibit 10 is a true and accurate copy of the
   20 Transcript of the June 27, 2018 Deposition of Plaintiff Deanna Reilly.

   21        16.    Attached hereto as Exhibit 11 is a true and accurate copy of the
   22 Transcript of the June 25, 2018 Deposition of Plaintiff Stephanie Miller Brun.

   23        17.    Attached hereto as Exhibit 12 is a true and accurate copy of the
   24 Transcript of the June 26, 2018 Deposition of Carol Orlowsky.

   25        18.    Attached hereto as Exhibit 13 is a true and accurate copy of the Rough
   26 Transcript of the July 27, 2018 Deposition of Megan Schmitt.
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                                 DECLARATION OF ADAM GONNELLI
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    1            19.   Attached hereto as Exhibit 14 is a true and accurate copy of the resume
    2 of the Sultzer Law Group, P.C.

    3            20.   Attached hereto as Exhibit 15 is a true and accurate copy of the resume
    4 of Nye Peabody Stirling Hale & Miller, LLP.

    5            21.   Attached hereto as Exhibit 16 is a true and accurate copy of Bates
    6 YNQE0002967-0002970 produced by Defendant in discovery.

    7

    8       Dated: August 1, 2018
    9       Red Bank, New Jersey
   10

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                                              THE SULTZER LAW GROUP P.C.
   13
                                              By: /s/ Adam Gonnelli
   14                                             Adam Gonnelli, Esq.
                                                  280 Highway 35, Suite 304
   15                                             Red Bank, NJ 07701
                                                  Tel: (845) 705-9462
   16                                             Fax: (888) 749-7747
                                                  gonnellia@thesultzerlawgroup.com
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                                    DECLARATION OF ADAM GONNELLI
